        Case 2:19-mj-02166-DUTY Document 7 Filed 05/22/19 Page 1 of 1 Page ID ~~;
                                                                              #:23
                                                                                 -....
                                                                                                                          s. n;{~'

                                            iJNITED STATES DISTRICT COURT                                  /~( ~AY
                                           CENTRAL DISTRICT OF CALIFORNIA                                 / ~7
  iJNITED STATES OF AMERICA,                                                 CASE NUMBER:                 ~' ~ ~~ D/S
                                                            PLAINTIFF
                                  v.                                                 1 ~i—,~~ —Z~b~
                                                                                              WAIVER OF RIGHTS
                                                                                           (OUT OF DISTRICT CASES)
              ~~4U       Q~ ~                           DEFENDANT.


        I understand that charges are pending in the                                      District of ~c~,J J ~rs~ i     t
 alleging violation of 2( ~S C 9G 3                                                  and that I have been arrested in this district and
                             (Tftle and Seclron /Probation /Supervised Release)
 taken before a United States Magistrate Judge, who has informed me ofthe charges) and my rights to:
       (1)      have an identity hearing to determine whether I am the person named in the charges;
       (2)      arrival of process;

-Check one only-

D        EXCLUDING PROBATION OR SUPERVISED RELEASE CASES:
        (3)  have a preliminary hearing (unless an indictment has been returned or an information filed)to
             determine whether there is probable cause to believe an offense has been committed by me,the
             hearing to be held in this district or the district of prosecution; and
        (4)  request transfer ofthe proceedings to this district under Rule 20, Fed.R.Crim.P., in order to plead
             guilty.

❑        PROBATION OR SUPERVISED RELEASE CASES:
        (3)  have a preliminary hearing (if the violation charged allegedly occurred in this district, and I am
             held in custody solely on that charge) under Rule 32.1(b), Fed.R.Crim.P., to determine.whether
             there is probable cause to believe I have violated the terms of my probation/supervised release.

         I HEREBY WAIVE(GIVE UP)MY RIGHTS) TO:

          / have an identity hearing
         C~  arrival of process
         ❑   have a preliminary hearing
         ❑/' have an identity hearing, and I have been informed that I have no right to a preliminary hearing
         ~~  have an identity hearing, but I request that a prelirrainary hearing be held in the prosecuting
             district.                                           ~-~~~ ~Ji,~

                                                                    Defendant


                                                                      i% ~~
                                                                    Defense Counsel

Date:     ~~2L-~ 11
                                                                       ited States Magistrate Judge

I have translated this Waiver to the defendant in the _                       ~a~ ~ vt~~~.                               language.
Date:         z.   z~ ~ ~j                                                                     ,~°;~.
                                                                    Interpreter(if required)


M-14(09/09)                              WAIVER OF RIGHTS(OUT OF DISTRICT CASES)
